UNITED STATES BANKRUPTCY COURT

District Of Oregon
IN RE: CASE NO: 1233721
TRACY A HAMBLET and DAVID M HINKLE CHAPTER 13

Debtor (s)

NOTICE OF CLAIM SATISFACTION

As to Claim 4 filed on 05/24/2012, Wells Fargo Bank, N.A. (“Wells Fargo”) files this notice that its claim has
been satisfied and the Debtor(s) have no further liability as to this claim. Wells Fargo requests no further
disbursements be made on this claim by the Chapter 13 Trustee.

/s/ Chad D Panzer

Chad D Panzer

Bankruptcy Specialist

Wells Fargo Bank, N.A.

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BKNOCS (03/2017)

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